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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL           :
FOUNDATION,                         :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :               NO. 1:19-CV-622
                                    :
KATHY BOOCKVAR, in her official     :               JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, and   :               ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
capacity as Deputy Secretary for    :
Elections and Commissions,          :
                                    :
                  Defendants.       :

DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN
      SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56.1 of the Local Rules of Court for the Middle District of

Pennsylvania, Defendants Acting Secretary of the Commonwealth Veronica

Degraffenreid 1 and Jonathan M. Marks, by and through their undersigned counsel,

submit the following as their statement of undisputed material facts in support of

their Motion for Summary Judgment in the above captioned matter:


   1
      The Complaint in this matter names Kathy Boockvar as a defendant in her
(then) official capacity as Acting Secretary of the Commonwealth of Pennsylvania
(she was later named Secretary of the Commonwealth). Compl. (ECF No. 1) ¶ 6.
Secretary Boockvar resigned from office on February 5, 2021. Acting Secretary
Veronica Degraffenreid was appointed on February 8, 2021. Pursuant to Federal
Rule of Civil Procedure 25(d), Acting Secretary Degraffenreid is “automatically
substituted as a party.”
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      1.     By means of letters dated October 23, 2017 and December 4, 2017,

which were resubmitted on March 20, 2019, Plaintiff Public Interest Legal

Foundation (“PILF”) requested access to four categories of records pursuant to the

public disclosure provision in the National Voter Registration Act (“NVRA”), 52

U.S.C. § 20507(i)(1). See Compl. ¶ 119 & Exs. H, I, N, O.

      2.     The first category of records sought by PILF are records relating to

comparison of the SURE database with the PennDOT driver license database. See

Oct. 23, 2017 and Dec. 4, 2017 Letters (attached to Compl. as Exs. H & I).

      3.     By Memorandum and Order dated December 13, 2019, this Court

ruled that the records requested by PILF are protected from disclosure and not

required to be disclosed to the extent such records include personal information

obtained from PennDOT in connection with a motor vehicle record. See Public

Interest Legal Found. v. Boockvar, 431 F. Supp. 3d 553, 563 (M.D. Pa. 2019).

      4.     The Department of State provided PILF with copies of letters sent to

registrants in 2018 advising them of the Motor Voter software issue and asking

them to affirm their eligibility to vote or submit a request to cancel their

registration, press statements and other communications concerning the letters,

summary data concerning the letters and responses and related communications

with county election officials. See Marks Decl. ¶ 29; see also Summary Chart

attached to Defs.’ Supp. Mem. as Exhibit D.


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      5.     Other than information derived from protected driver license records,

the Department of State received no documents within the relevant period from

any official government source identifying potential non-citizens on the voting roll

and has no other non-privileged documents responsive to the first category request

in PILF’s letters. See Marks Decl. ¶ 30.

      6.     The second category of documents sought by PILF are documents and

records of communication received or maintained by DOS from registered voters

or their representatives requesting cancellation from the voter roll due to non-

citizenship and list maintenance relating thereto. See Oct. 23, 2017 and Dec. 4,

2017 Letters (attached to Compl. as Exs. H & I).

      7.     The Department of State provided PILF with copies of records

received from county election officials relating to requests directed to and

maintained by county election officials from registrants or their agents requesting

cancelation of voter registration due to non-citizenship. See Marks Decl. ¶ 33.

      8.     The Department of State also produced a redacted list of 1,160

persons who apparently self-reported and cancelled their registration because they

were not citizens. See Marks Decl. ¶ 34; see also Summary Chart.

      9.     The third category of records sought by PILF are communications

with jury selection officials relating to individuals who claimed to be non-U.S.

citizens when attempting to avoid serving on jury duty and maintenance actions


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taken as a result. See Oct. 23, 2017 and Dec. 4, 2017 Letters (attached to Compl.

as Exs. H & I).

      10.     The Department of State occasionally receives letters from jury

officials identifying persons who were summoned for jury duty and who asked to

be excused because they were not citizens. When the Department receives such

letters, they are forwarded to the respective county to take appropriate action. See

Marks Decl. ¶¶ 37-38.

      11.    The Department of State did not locate any letters from jury officials

during the relevant period. See Marks Decl. ¶ 40.

      12.    PILF’s fourth request for records relates to communications with

prosecutors and law enforcement agencies concerning voting by non-citizens. See

Oct. 23, 2017 and Dec. 4, 2017 Letters (attached to Compl. as Exs. H & I).

      13.    The Department of State has not communicated with federal or state

prosecutors concerning any individual who was identified as a non-citizen or who

sought to cancel his or her registration based on non-citizenship. The Department




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no has no records to produce in response to the fourth category. See Marks Decl.

¶¶ 42-43.

                                     Respectfully submitted,



                                     /s/ Donna A. Walsh
                                     Daniel T. Brier
                                     Donna A. Walsh

                                     Counsel for Defendants,
                                     Acting Secretary of the Commonwealth
                                     Veronica Degraffenreid and Deputy
                                     Secretary for Elections and
                                     Commissions Jonathan M. Marks

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Date: May 3, 2021




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                        CERTIFICATE OF SERVICE

      I, Donna A. Walsh, hereby certify that a true and correct copy of the

foregoing Statement of Undisputed Material Facts in Support of Motion for

Summary Judgment was served upon the following counsel of record via the

Court’s ECF system on this 3rd day of May 2021:


                         Kaylan Phillips, Esquire
                         Noel H. Johnson, Esquire
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                                            /s/ Donna A. Walsh
                                            Donna A. Walsh
